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  12                      UNITED STATES DISTRICT COURT
  13                    CENTRAL DISTRICT OF CALIFORNIA
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  15   KEVIN DUNCANS, an individual,      Case No.: 2:20-cv-4226
                                          Assigned to the Hon. Stephen V. Wilson
  16              Plaintiff,
                                          ORDER GRANTING DISMISSAL
  17        vs.                           WITH PREJUDICE
  18
       WAL-MART STORES, INC., an
  19   Arkansas Corporation; and
  20   DOES 1-50, inclusive,
  21
                  Defendants.
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            [PROPOSED] ORDER GRANTING DISMISSAL WITH PREJUDICE
Case 2:20-cv-04226-SVW-SK Document 25 Filed 10/29/20 Page 2 of 2 Page ID #:254




   1                                        ORDER
   2
   3         Based on the parties’ Stipulation of Dismissal, it is hereby ORDERED that:
   4         1.    All claims in the above-captioned action are dismissed in their entirety
   5   with prejudice; and
   6         2.    Each party is to bear its own fees and costs.
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   9         IT IS SO ORDERED.
  10
  11                 October 29
             Dated: __________, 2020                ______________________________
  12                                                The Honorable Stephen V. Wilson
  13                                                United States District Court Judge
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            [PROPOSED] ORDER GRANTING DISMISSAL WITH PREJUDICE
